                                     UNITED STATES DISTRICT COURT

                                   SOUTHERN DISTRICT OF NEW YORK

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JANE DOE,                                                                :   Civil Action No. 23-cv-10628 (JGLC)
                                                                         :
                                         Plaintiff,                      :   NOTICE OF MOTION
                                                                         :
                          v.                                             :
                                                                         :
SEAN COMBS; HARVE PIERRE; THE THIRD                                      :
ASSAILANT; DADDY’S HOUSE RECORDINGS, :
INC. and BAD BOY ENTERTAINMENT                                           :
HOLDINGS, INC.,                                                          :
                                                                         :
                                         Defendants.                     :
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          PLEASE TAKE NOTICE that upon this Notice of Motion, dated as of February 20, 2024,

and the accompanying Declaration of Jonathan D. Davis, dated February 20, 2024, with exhibits,

and the supporting memorandum of law, dated February 20, 2024, and upon all prior proceedings

heretofore had herein, Defendants Daddy’s House Recordings, Inc. and Bad Boy Entertainment

Holdings, Inc, by their attorneys, will move this Court, pursuant to Fed. R. Civ. P. 12(b)(6), before

the Honorable Jessica G. L. Clarke, at the United States District Courthouse, Courtroom 20C, 500

Pearl Street, New York, New York 10007, for an order dismissing Plaintiff’s Complaint [Dkt. No.

1].




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       Answering declarations and memorandum of law, if any, shall be filed on or before

Tuesday, March 5, 2024, and any reply declarations and memorandum of law shall be filed on or

before Tuesday, March 12, 2024, unless otherwise extended by the Court.

Dated: February 20, 2024
       New York, New York

                                                         JONATHAN D. DAVIS, P.C.



                                                  By:    /s/Jonathan D. Davis
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                                                         Attorneys for Defendants Daddy’s
                                                         House Recordings, Inc., and Bad
                                                         Boy Entertainment Holdings, Inc.




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